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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

CW Professional Services, LLC
d/b/a Lochbridge,

              Plaintiff,
                                       Case No.
v.
                                       Hon.
BFN Operations, LLC
d/b/a Berry Family Nurseries,

              Defendant.

Colin M. Battersby (P71283)
Miller, Canfield, Paddock and Stone,
P.L.C.
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Detroit, MI 48226
(313) 963-6420
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Attorneys for Plaintiff

                       COMPLAINT AND JURY DEMAND

        Plaintiff CW Professional Services, LLC, d/b/a Lochbridge (“Lochbridge”)

states as follows for its Complaint against Defendant BFN Operations, LLC, d/b/a

Berry Family Nurseries (“Berry”):

                             Parties and Jurisdiction

        1.    Lochbridge is a Delaware limited liability company that is wholly

owned subsidiary of CW Professional Services BV, a Dutch private limited

liability company.
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        2.   Berry is a Delaware limited liability company that is, upon

information and belief, a wholly owned subsidiary of Insight Equity LP, a Texas

limited partnership.

        3.   The amount in controversy is in excess of $75,000.

        4.   There is complete diversity of citizenship among the parties.

        5.   This Court has subject matter jurisdiction pursuant to 28 U.S.C §

1332.

        6.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2)

because, as set forth more fully below, a substantial part of the events giving rise to

the claims occurred within this judicial district.

                                 General Allegations

        7.   Berry and Compuware Corporation entered into a Professional

Services Agreement on July 25, 2013 for consulting services in connection with

deployment of third-party software. The Agreement is attached as Exhibit A.

        8.   Lochbridge is the successor in interest to Compuware and assumed

the Professional Services Agreement with Berry.

        9.   Pursuant to the Agreement, Lochbridge assigned four individuals to

work under Berry’s direction, control and supervision. The work was performed

remotely from Lochbridge’s office in Detroit, Michigan.




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      10.   The Agreement provided for Berry to be invoiced on a monthly basis

for services provided and for payment to be made within 30 days of invoice.

      11.   The Agreement also provided that each invoice “shall be deemed

accepted” by Berry unless objected to in writing within seven days of receipt.

      12.   Lochbridge invoiced Berry on 7/14/2014, 8/15/2014, 9/11/2014,

10/13/2014, 12/8/2014, 12/29/2014, 1/12/2015, 1/3/2105, 1/13/2015 and 2/11/2015

for services provided totaling $297,210.44.

      13.   Berry did not object to any invoice at any time.

      14.   On April 3, 2015, confirming Berry’s agreement with respect to the

total amount owed, Natalie Kime, Berry’s Director of Finance, provided a payment

schedule by which Berry would make full payment on the invoiced sums.

      15.   Berry made the first three scheduled payments and partial payment on

the fourth, but has not made any of the other scheduled payments.

      16.   On July 7, 2015, Ms. Kime indicated to Lochbridge that Berry would

resume its payments if it obtained funding from its bank, but no further payments

have been made.

      17.   To date, Berry has only paid $90,662.11 for services rendered, leaving

an outstanding balance owed to Lochbridge of $206,548.33.

      18.   On July 17, 2015, Lochbridge provided Berry with a Notice of Breach

pursuant to Section 5(i) of the Agreement.


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                           Count I –Breach of Contract

      19.     Lochbridge incorporates by reference the allegations in paragraphs 1-

18 above.

      20.     The Agreement is a contract between Lochbridge and Berry.

      21.     Lochbridge provided professional services to Berry pursuant to the

Agreement in the amount of $297,210.44 for which Berry was obligated to pay

Lochbridge.

      22.     Lochbridge invoiced Berry in accordance with the Agreement and

Berry never objected.

      23.     To date, Berry has only paid $90,662.11 for services rendered, leaving

an outstanding balance owed to Lochbridge of $206,548.33.

      24.     Berry’s failure to pay Lochbridge all amounts invoiced is a material

breach of contract.

      25.     Lochbridge has been damaged by Berry’s material breach in the

amount of $206,548.33.

      WHEREFORE Lochbridge requests judgment in the amount of $206,548.33,

plus interest, costs and attorneys’ fees incurred in bringing this action.

                             Count II –Account Stated

      26.     Lochbridge incorporates by reference the allegations in paragraphs 1-

25 above.


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      27.    Lochbridge provided consulting services to Berry pursuant to the

Agreement on an open account.

      28.    Lochbridge invoiced Berry for the services provided and Berry did not

object to the invoices.

      29.    The current balance on the account is $206,548.33. Attached hereto

as Exhibit B is the affidavit of Robert Darragh, Chief Financial Officer of

Lochbridge, which attaches and incorporates by reference the account and

supporting invoices.

      30.    Berry has, through discussions regarding repayment plans, explicitly

acknowledged the correctness of the current balance.

      31.    An account stated exists that obligates Berry to Lochbridge in the

amount of $206,548.33.

      WHEREFORE Lochbridge requests judgment in the amount of $206,548.33,

plus interest, costs and attorneys’ fees incurred in bringing this action.

                          Count III –Unjust Enrichment

      32.    Lochbridge incorporates by reference the allegations in paragraphs 1-

21 above.

      33. Lochbridge’s consulting services in connection with deployment of

third-party software conferred a benefit upon Berry.

      34.    Berry was aware of the benefit conferred upon it by Lochbridge.


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      35.    Berry has retained the benefit conferred upon it under circumstances

where it is unjust for it to do so without payment for it.

      36.    Berry has been unjustly enriched to Lochbridge’s detriment in the

amount of $206,548.33.

      WHEREFORE Lochbridge requests judgment in the amount of $206,548.33,

plus interest, costs and attorneys’ fees incurred in bringing this action.

                                        Respectfully submitted,

                                        MILLER, CANFIELD, PADDOCK AND
                                        STONE, P.L.C.


                                        By: /s/Colin M. Battersby
                                             Colin M. Battersby (P71283)
                                             Attorneys for Plaintiff
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Dated: October 7, 2015




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                   IN THE UNITED STATES DISTRICT COURT
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Attorneys for Plaintiff

                                      JURY DEMAND

        Plaintiff CW Professional Services, LLC, d/b/a Lochbridge, hereby demands

a trial by jury of all issues so triable.




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                                    Respectfully submitted,

                                    MILLER, CANFIELD, PADDOCK AND
                                    STONE, P.L.C.


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Dated: October 7, 2015




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